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                      UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA (Harrisburg)

IRIS CHAMBERS and                             :
LAMAR DESHIELDS                               :
                                              :
                              Plaintiffs,     :          NO. 1:18-cv-02386
                                              :
               v.                             :
                                              :
YORK COUNTY PRISON                            :         JURY TRIAL DEMANDED
                                              :
                              Defendant.      :

                                             ORDER
                          13th
       AND NOW this ________________           May
                                     day of ___________, 2019, upon consideration of

Plaintiffs’ Motion for Enlargement of Time to Respond to Defendant’s Motion to Dismiss, it is

hereby ORDERED and DECREED that Plaintiffs’ Motion is GRANTED, and Plaintiffs shall

have seven (7) additional days from the date of entry of this order.

               AND IT IS SO ORDERED.




                                                        s/Sylvia H. Rambo
                                                     ___________________________________
                                                     Judge Sylvia H. Rambo
